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                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS
                         GALVESTON DIVISION


MARY TALLEY BOWDEN,

                           Plaintiff,
                                           Case No. 3:22-cv-184
       v.
                                           JUDGE JEFFREY V. BROWN
 U.S. DEPARTMENT OF HEALTH
 AND HUMAN SERVICES, et al.,

                           Defendants.


                        STIPULATION OF DISMISSAL

      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiffs Robert

L. Apter; Mary Talley Bowden; and Paul E. Marik,1 and Defendants U.S.

Department of Health and Human Services; Xavier Becerra, in his official capacity

as Secretary of Health and Human Services; U.S. Food and Drug Administration

(FDA); and Robert M. Califf, in his official capacity as Commissioner of Food and

Drugs, stipulate to the dismissal with prejudice of all claims in the above-

captioned case because the parties have reached a settlement.

      In exchange for Plaintiffs’ agreement to dismiss all claims in this case,

Defendants agree to, within 21 calendar days:


1 Dr. Apter and Dr. Marik were dismissed from this case on February 5, 2024,

ECF No. 66, but join in this Stipulation of Dismissal.
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         Retire FDA’s Consumer Update entitled, Why You Should Not Use
          Ivermectin to Treat or Prevent COVID-19, originally posted on March 5,
          2021, and revised on September 7, 2021 (ECF No. 12, Ex. 1), while
          retaining the right to post a revised Consumer Update.
         Delete and not republish (1) FDA’s Twitter, LinkedIn, and Facebook
          posts from August 21, 2021 (ECF No. 12, Exs. 4, 5), that read, “You are
          not a horse. You are not a cow. Seriously, y’all. Stop it.”; (2) FDA’s
          Instagram post from August 21, 2021 (ECF No. 12, Ex. 6), that reads,
          “You are not a horse. Stop it with the #ivermectin. It’s not authorized
          for treating #COVID.”; (3) FDA’s Twitter post from April 26, 2022 (ECF
          No. 12, Ex. 7), that reads, “Hold your horses, y’all. Ivermectin may be
          trending, but it still isn’t authorized or approved to treat COVID-19.”;
          and (4) all other social media posts on FDA accounts that link to Why
          You Should Not Use Ivermectin to Treat or Prevent COVID-19 (ECF No. 12,
          Ex. 1).

FDA has already retired the Frequently Asked Questions (ECF No. 12, Exs. 2, 3) at

issue in this case.

      All materials will be archived, as required by federal law.

      Neither this Stipulation of Dismissal nor the actions described herein shall

constitute an admission or evidence of any issue of fact or law, wrongdoing,

misconduct, or liability on the part of any party to this litigation.


March 21, 2024




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Respectfully submitted,


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